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 Via ECF                                                     March 28, 2023

  Hon. Robert B. Kugler
  United States District Court
   for the District of New Jersey
  U.S. Courthouse
  4th & Cooper Streets
  Camden, NJ 08101


         Re: In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 19-md-2875 (D.N.J.)

 Dear Judge Kugler:

 In anticipation of tomorrow’s CMC, Plaintiffs attach their two responses to Defendants’ Rule 23(f)
 petitions filed with the Third Circuit. Defendants’ four petitions were attached to their motion to
 stay. Plaintiffs believe it benefits the Court to have both sides’ positions as set forth in their
 respective briefing before the Third Circuit.

                                                             Respectfully,




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 Encl.

 cc:     all counsel (via ECF)
